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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                        )   MDL 2804
    OPIATE LITIGATION                                   )
                                                        )   Case No. 1:17-md-2804
    THIS DOCUMENT RELATES TO:                           )
                                                        )   Judge Dan Aaron Polster
    Applies to All Cases                                )
                                                        )   ORDER
                                                        )

         This MDL began in December of 2017. Since that time, the major Manufacturer
Defendants (i.e. J&J, Purdue, Mallinckrodt, Teva, Allergan, and Endo) have all either reached a
global settlement, declared bankruptcy, engaged in litigation, or settled numerous individual
cases. The major Distributor Defendants (i.e. the “Big 3”) have reached a global settlement. The
Court’s first bellwether, Track One, settled on the eve of trial in October of 2019. The Court has
also remanded MDL cases to Illinois, Oklahoma, California, and West Virginia to test state and
federal claims in those venues against a variety of defendants. Recently, the Court concluded the
liability phase of the Track Three bellwether trial, testing dispensing-related claims against the
major Pharmacy Defendants. That case will continue to the abatement phase of trial next month.
The Court has also identified five additional bellwether trials against the major Pharmacy
Defendants in various states to test the viability of public nuisance claims against pharmacies
more broadly.

       In light of these developments related to the major Manufacturer and Distributor
Defendants, the Court now turns its attention to some of the remaining Manufacturers and
Distributors named in MDL cases.

        The Court will hold a Zoom status conference on June 22, 2022 at noon with the PEC and
defense counsel from the ten Distributor and Manufacturer Defendant Families1 most frequently
named in MDL cases (other than the ones named above) to determine how to best proceed with
those cases. These Distributor Defendant Families are: (1) H. D. Smith, LLC; (2) Miami Luken,
Inc.; (3) J.M. Smith Corporation; (4) Omnicare Distribution Center; (4) Morris & Dickson Co.;
(6) Henry Schein, Inc.; (7) Harco, Inc.; (8) Masters Pharmaceutical; (9) Keysource Medical, Inc.;
and (10) Quest Pharmaceuticals, Inc. These Manufacturer Defendant Families are: (1) Mylan
Inc.; (2) Amneal Pharmaceuticals; (3) Sandoz Inc.; (4) KVK-Tech, Inc.; (5) Indivior Inc.; (6)
Hikma Pharmaceuticals PLC; (7) The P.F. Laboratories, Inc.; (8) Abbott Laboratories; (9)
Depomed, Inc.; and (10) Novartis.


1
 By “Defendant Families,” the Court means all entities that are related. For example, “H.D. Smith, LLC” includes
“family member” defendants H. D. Smith, LLC; H. D. Smith Holding Company; H. D. Smith Holdings, LLC; and
H.D. Smith Wholesale Drug Co.
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        Counsel shall submit status reports by noon on Monday, June 20, 2022. Specifically, the
PEC shall submit one joint status report, and each Defendant Family listed above shall submit a
status report. Counsel will serve these status reports on all parties and also email them directly to
the Court and to Special Master Cohen. The parties may also submit to the Court an ex parte
addendum regarding settlement status if they so choose. The status reports shall include notice of
how and whether Plaintiffs intend to proceed against each of the above-listed Defendants. The
report shall also include an update from each Defendant regarding whether they are interested or
currently engaged in active settlement negotiations; and if interested, whether they prefer to
retain an outside mediator or have the Court assist in those negotiations. Finally, the Status
Report shall indicate each party’s position on whether and how the Court should conduct
additional bellwether trials, including proposals for potential cases to be named as new
bellwether tracks, if any.


               IT IS SO ORDERED.


                                                  /s/ Dan Aaron Polster_April 21, 2022_
                                                  DAN AARON POLSTER
                                                  UNITED STATES DISTRICT JUDGE




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